                  Case 19-14209        Doc 22    Filed 08/01/19 Entered 08/02/19 08:02:37                 Desc Main
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                                             UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF ILLINOIS
                                                        Eastern Division

             In Re:                                             )              BK No.:    19-14209
             DARNELL LOMAX                                      )
                                                                )              Chapter: 13
                                                                )
                                                                )              Honorable Timothy Barnes
                                                                )
                                 Debtor(s)                      )


                                  ORDER ALLOWING CHAPTER 13 COMPENSATION UNDER
                                      COURT-APPROVED RETENTION AGREEMENT
                                         (Use for cases filed on or after April 20, 2015)

                  On the application of debtor(s)' counsel for compensation for representing the debtor(s) in this case and
                  pursuant to the Court-Approved Retention Agreement executed by debtor(s) and counsel, the court grants
                  the application based on its finding that the allowance is reasonable under the provisions of 11 U.S.C. §
                  330(a), as follows:

                             $         4,000.00      for legal services through conclusion of the case.
                             $               43.00   for reimbursable expenses.
                             $         4,043.00      total fees and reimbursement allowed.
                            -$               30.00   less payment received from debtor before date of application.

                             $         4,013.00      balance allowed and due to the attorney under this order.




                                                                             Enter:


                                                                                      Timothy A. Barnes
             Dated: August 01, 2019                                                   United States Bankruptcy Judge



             Fees Payable to:
             David M. Siegel




Rev: 10/18/2018                                                                                      Local Bankruptcy Form 23-3
